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                           UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                  Alexandria Division



      UNITED STATES, et al.,

                                    Plaintiffs,

           vs.                                                  No. 1:23-cv-00108-LMB-JFA
      GOOGLE LLC,

                                    Defendant.




                  NON-PARTY TIKTOK, INC.’S MEMORANDUM OF LAW
                        IN SUPPORT OF MOTION TO REDACT
         Pursuant to Local Rule 5(C) and the Court’s June 24, 2024 Order, ECF No. 871, non-party

  TikTok, Inc. (“TikTok”) respectfully submits this memorandum of law in support of its

  contemporaneously filed Motion to Redact (“Motion”). For the reasons set forth herein, TikTok

  hereby requests that this Court redact DTX 1974, DTX 1990, and DTX 19911 and fully redact or

  seal DTX 250, DTX 2520, DTX 2521, and DTX 2522,2 which are each included on Google’s trial

  exhibit list and designated “Highly Confidential.” See ECF No. 894. TikTok has narrowly tailored

  this request to partially redact just three charts contained in Google’s expert report (DTX 1974,

  DTX 1990, DTX 1991) and fully redact or seal the underlying financial data that is highly sensitive


  1
         Redacted versions of DTX 1974, DTX 1990, and DTX 1991 are attached hereto as Exhibits
  A, B, and C, respectively. Unredacted versions of these exhibits are not available because they
  contain the Highly Confidential information of other third parties, in addition to TikTok’s Highly
  Confidential information. As such, unredacted versions of DTX 1974, DTX 1990, and DTX 1991
  have not been shared with TikTok.
  2
         Redacted versions of DTX 250, DTX 2520, DTX 2521, and DTX 2522 are attached hereto
  as Exhibits D, E, F, and G, respectively. Pursuant to Local Civil Rule 5, unredacted versions of
  the same are being filed under seal.
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  non-public information, the disclosure of which may expose TikTok to competitive harm. In

  support of its Motion, TikTok also attaches the Yeh Declaration.

           I.    LEGAL STANDARD

         While there is a strong public interest in access to trial proceedings and judicial records,

  sealing of judicial records is appropriate where “the public’s right of access is outweighed by

  competing interests.” See e.g., Ashcraft v. Conoco, Inc., 218 F.3d 288, 302 (4th Cir. 2000). Courts

  in this circuit acknowledge that a private party’s interest in protecting confidential commercial

  information may outweigh the right to public access. See, e.g., Solomon v. Am. Web Loan, Inc.,

  No. 4:17-CV-145-HCM-RJK, 2020 WL 13894410, at *2 (E.D. Va. Oct. 15, 2020) (granting

  motion to seal “confidential commercial information that concern matters…normally unavailable

  to the public and not of general interest to the public.”); Intelligent Verification Sys., LLC v.

  Microsoft Corp., No. 2:12-CV-525-AWA-LRL, 2015 WL 13036877, at *1 (E.D. Va. Feb. 6, 2015)

  (granting motion to seal “sensitive business information”).

         Specifically, courts grant motions to seal where documents implicate sensitive financial

  data. See e.g., Jones v. Lowe's Companies, Inc., 402 F. Supp. 3d 266, 291–92 (W.D.N.C.

  2019) (sealing deposition testimony that discussed financial data); Silicon Knights, Inc. v. Epic

  Games, Inc., No. 5:07-CV-275-D, 2011 WL 901958, at *2 (E.D.N.C. Mar. 15,

  2011) (granting motion to seal “sensitive financial and business information”).     For instance,

  courts will grant motions to seal where documents contain gross profit or revenue data. See e.g.,

  E. W., LLC v. Rahman, No. 1:11CV1380 JCC/TCB, 2012 WL 3841401, at *3 (E.D. Va. Sept. 4,

  2012) (granting motion to seal “sensitive financial data, including gross profit data”); Flexible

  Benefits Council v. Feltman, No. 1:20- CV-1450, 2008 WL 4924711, at *1 (E.D. Va. Nov. 13,

  2008) (granting motion to seal “sensitive financial information…including 15 years of revenue
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  data.”). While not dispositive, privacy interests of third parties are “often subject to protection,

  given the privacy interests at stake for individuals who are not part of the suit.” See Fed. Trade

  Comm'n v. Syngenta Crop Prot. AG, 695 F. Supp. 3d 701, 706 (M.D.N.C. 2023) (quoting Stevens

  v. Cabarrus Cnty. Bd. Ed., 1:20-CV-335, 2022 WL 4620906, at *15 (M.D.N.C. Sept. 30, 2022)).

         Under Fourth Circuit precedent, there are three requirements for sealing court filings: (1)

  public notice with an opportunity to object; (2) consideration of less drastic alternatives to

  redaction or sealing of the document; and (3) a statement of specific findings in support of a

  decision to redact or seal and rejecting alternatives to redaction or sealing. See Globus Medical,

  Inc. v. Jamison, No. 2:22-cv-00282- RBS-LRL, 2023 WL 4937386, at *2 (E.D. Va. Jan. 13, 2023)

  (citing Ashcraft, 218 F.3d at 302).

          II.    ARGUMENT

         Each of the requirements for sealing are satisfied here:

         First, TikTok is filing public notice of its Motion to Redact contemporaneous with this

  Memorandum of Law. The Court’s June 24, 2024 Order provides an opportunity to object to

  LinkedIn’s sealing request by August 2, 2024. ECF No. 871. Based on the forgoing, the public

  notice requirement pursuant to governing law in this Circuit, Federal Rule of Civil Procedure

  5.2(d) and Local Civil Rule 5, has been met.

         Second, TikTok respectfully submits there is no less drastic alternative than redacting DTX

  1974, DTX 1990, DTX 1991 and fully redacting or sealing the underlying data contained in DTX

  250, DTX 2520, DTX 2521, and DTX 2522. TikTok’s redaction request is narrow and discrete

  because it is limited to only the core competitive information and specific revenue figures, which

  are unavailable to the public and which could cause TikTok competitive harm if disclosed. See
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  Yeh Decl. ¶ 2-3. Notably, TikTok is not seeking to seal or redact charts in expert reports in which

  TikTok’s data has been aggregated and is not individually identifiable.

         Third, as to the specific reasons supporting this motion to redact DTX 1974, DTX 1990,

  and DTX 1991 and to fully redact or seal the underlying data in DTX 250, DTX 2520, DTX 2521,

  and DTX 2522 contain highly confidential, competitively sensitive information, including

  detailed, non-public financial information on TikTok’s sources of revenue, amounts of revenue,

  and customers. Specifically, this information includes TikTok’s highly confidential revenue

  information and customer identifiers. See Yeh Decl. ¶ 2; Flexible Benefits Council v. Feltman,

  No. 1:20- CV-1450, 2008 WL 4924711, at *1 (E.D. Va. Nov. 13, 2008) (granting motion to seal

  “sensitive financial information…including 15 years of revenue data.”). Furthermore, DTX 1990

  and DTX 1991 purport to calculate TikTok’s market share based on its highly confidential,

  competitively sensitive information.    Disclosure of this information would reveal sensitive

  information that relates directly to the valuation of TikTok and its customers. See Yeh Decl. ¶ 2.

  Second, TikTok is a private company, and as such, this type of valuation and revenue information

  is not publicly disclosed in any other context. Id. If disclosed, this information could allow a

  comparison of TikTok’s revenue derived from advertising buyer tools to similar revenue derived

  by TikTok’s competitors and potential competitors and cause competitive harm. Id. Lastly,

  disclosure of the underlying data in DTX 250, DTX 2520, DTX 2521, and DTX 2522 would reveal

  the volume of advertising transactions that TikTok enters into, which is sensitive business

  information that is not normally disclosed. Disclosure of the sheer number of rows in these

  spreadsheets alone would constitute disclosure of confidential information that could be used by

  TikTok’s competitors and potential competitors to replicate its advertising strategies and harm

  TikTok.
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         The following chart details the specific documents at issue and the highly confidential,

  competitively sensitive information contained therein:

        Exhibit Number (Bates)              Document          Portion          Reason(s) for
                                            description    sought to be     redaction/sealing
                                                             redacted             request
   DTX 250                        TikTok                   Fully Redact   Discloses specific
                                  Revenues                 or Seal        revenue derived by
   (TikTok_GoogleAdTech_00000695) Derived from             Entirety of    TikTok from its
                                  the Advertising          Data Set.      advertising buyer
                                  Buyer Tools,                            tools including
                                  Nov. 2022-                              associated customer
                                  Dec. 2022.                              accounts and account
                                                                          numbers. This highly
                                                                          confidential,
                                                                          competitively
                                                                          sensitive financial
                                                                          information could be
                                                                          used by competitors
                                                                          to target TikTok’s
                                                                          customers and cause
                                                                          competitive harm.

   DTX 2520                       TikTok                   Fully Redact   Same as above.
                                  Revenues                 or Seal
   (TikTok_GoogleAdTech_00000696) Derived from             Entirety of
                                  the Advertising          Data Set.
                                  Buyer Tools,
                                  July 2022-Oct.
                                  2022.

   DTX 2521                       TikTok                   Fully Redact   Same as above.
                                  Revenues                 or Seal
   (TikTok_GoogleAdTech_00000697) Derived from             Entirety of
                                  the Advertising          Data Set.
                                  Buyer Tools,
                                  Jan. 2022-June
                                  2022.

   DTX 2522                       TikTok                   Fully Redact   Same as above.
                                  Revenues                 or Seal
   (TikTok_GoogleAdTech_00000698) Derived from             Entirety of
                                  the Advertising          Data Set.
                                  Buyer Tools,
                                  2019-2021.
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   DTX 1974                       Israel Report   Redact          This table cross-
                                  Table 5:        Table 5 from    references Google’s
   (No Bates Number)              Advertisers     the Israel      advertiser data and
                                  With At Least   Report          TikTok’s confidential
                                  $1 Million in                   data, discloses
                                  2022 TikTok                     aggregated TikTok
                                  Advertising                     data, and identifies
                                  Spending                        advertisers who spent
                                  Among the                       at least $1 million on
                                  Top 50 2022                     TikTok advertising in
                                  U.S. Google                     2022 who were also
                                  Ads                             among the top 50
                                  Advertisers                     U.S. Google Ads
                                                                  advertisers. For each
                                                                  such advertiser, the
                                                                  chart discloses the
                                                                  advertiser’s name,
                                                                  their confidential
                                                                  TikTok advertising
                                                                  spending in 2020,
                                                                  2021, and 2022, and
                                                                  the percentage change
                                                                  in the advertiser’s
                                                                  confidential TikTok
                                                                  advertising spending
                                                                  from 2021 to 2022.
                                                                  This chart specifically
                                                                  cites to DXT 250,
                                                                  DXT 2520, DXT
                                                                  2521, and DXT 2522
                                                                  by Bates number.

   DTX 1990                       Israel Report   Redact          This chart reports
                                  Table 23:       Table 23        confidential TikTok
   (No Bates Number)              Publisher Ad    from the        data in an aggregate
                                  Server Shares   Israel Report   and purports to
                                  Including                       calculate and identify
                                  Selected In-                    Publisher Ad Server
                                  House Ad                        market shares for
                                  Servers, by                     each listed company,
                                  Approximate                     including TikTok.
                                  U.S. Ad
                                  Spending,
                                  2019-2022

   DTX 1991                       Israel Report   Redact          This chart reports
                                  Table 24:       Table 24        confidential TikTok
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   (No Bates Number)                       Shares Among       from the      data in an aggregate
                                           Advertiser         Israel Report and purports to
                                           Buying Tools,                    calculate and identify
                                           Ad Exchanges,                    market shares based
                                           and Publisher                    on ad buying platform
                                           Ad Servers for                   for each listed
                                           All U.S.                         company, including
                                           Display                          TikTok.
                                           Advertising,
                                           2022


         Finally, and importantly, TikTok is not a party to this litigation. Though not dispositive,

  courts have found that the privacy interests of third parties can justify redacting or sealing

  documents “given the privacy interests at stake for individuals who are not part of the suit.” See

  Syngenta Crop, 695 F. Supp. 3d at 706.

         For the foregoing reasons, TikTok respectfully requests that the material identified above

  be redacted or sealed and that any trial testimony related to these data sets take place in a closed

  session.

   Dated: July 26, 2024                           Respectfully submitted,
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